        Case 1:10-cv-03081-CAP Document 82 Filed 11/29/11 Page 1 of 3



                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
THE COCA-COLA COMPANY, a
Delaware corporation,
             Plaintiff,                        Case No. 1:10-cv-03081 CAP
      vs.
JOHANNA FOODS, INC., a New Jersey
corporation,
             Defendant.

        STIPULATION AND [PROPOSED] ORDER OF DISMISSAL


      IT IS HEREBY STIPULATED by and between Plaintiff The Coca-Cola
Company and Defendant Johanna Foods, Inc., and through their respective
attorneys of record, that this action in its entirety be voluntarily dismissed with
prejudice with each party to bear its own attorneys’ fees and costs incurred herein.
The parties further stipulate that the Court will retain jurisdiction to enforce the
terms of their confidential settlement agreement.

Dated: November 28, 2011                     REED SMITH LLP

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       Case 1:10-cv-03081-CAP Document 82 Filed 11/29/11 Page 2 of 3




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IT IS SO ORDERED.


             November 29, 2011 _______________________________________
                                /s/Charles A. Pannell, Jr.
                               UNITED STATES DISTRICT COURT JUDGE




                                   -2-
        Case 1:10-cv-03081-CAP Document 82 Filed 11/29/11 Page 3 of 3



                          CERTIFICATE OF SERVICE

      I certify that on November 28, 2011, I electronically filed the foregoing
STIPULATION AND [PROPOSED] ORDER OF DISMISSAL with the Clerk
of the Court using the CM/ECF system, which will automatically send e-mail
notification of such filing to the following attorneys of record:

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                                            /s/ Robert N Phillips            __
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                                         -3-
